Case 1:24-cv-00941-JKB Document 443 Filed 11/14/24 Pagelof3

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

*

In the Matter of the Petition of GRACE

OCEAN PRIVATE LIMITED, et al.,for Stent aoe

Exoneration from or Limitation of IN ADMIRALTY
Liability *
*
* * * * * * * * * * * *
MEMORANDUM AND ORDER

Local counsel for Claimant Wisconsin Spice, Inc., Aaron J. Turner of the firm Levin Gann
PA, has moved for leave to withdraw his appearance in this matter. (ECF No. 437.) He states
that the firm has discovered an unspecified conflict of interest. (/d.) Mr. Turner is the only
member of the Bar of this Court who has entered an appearance on behalf of Wisconsin Spice.
Wisconsin Spice is also represented by Shanshan Liang, but Ms. Liang has been admitted only on
a pro hac vice basis. The motion will be denied without prejudice for failure to comply with the
requirements of the Local Rules.

Local Rule 101.2(b) governs the withdrawal of counsel representing entities. Under that
provision, “appearance of counsel may be withdrawn only with leave of court and if (1) appearance
of other counsel has been entered, or (2) withdrawing counsel files” an appropriate certificate.
L.R. 101.2(b) (D. Md. 2023). Further, under Local Rule 101(b)(i), “[a]ny party represented by an
attorney who has been admitted pro hac vice must also be represented by an attorney who is, and
continuously remains, an active member in good standing of the Bar of this Court.”

In a narrowly literal sense, “other counsel” (i.e., Ms. Liang) has entered an appearance in

this matter. But, because Wisconsin Spice may not be represented solely by an attorney appearing
Case 1:24-cv-00941-JKB Document 443 Filed 11/14/24 Page2of3

pro hac vice, Mr. Turner’s withdrawal would effectively leave Wisconsin Spice without counsel.
It is well settled that corporations must be represented by counsel in federal court. Local Rule
101(a); Fed. Trade Comm’n vy. Pukke, 53 F.4th 80, 106 (4th Cir. 2022). Thus, Mr. Turner’s
withdrawal could leave Wisconsin Spice at risk of being dismissed from this action unless it
promptly retained new local counsel—the exact concern that animates the disclosure and
certification requirements of Local Rule 101.2(b). See Redmonds Enter., Inc. v. CSX Trans., Inc.,
Civ. No. CCB-16-3943, at *6 (D. Md. July 27, 2018) (permitting the only local counsel for a
“corporate plaintiff to withdraw, but noting that the corporation “will need to retain new local
counsel if it wishes to proceed further with this case”).

The relevant provisions of the Local Rules are admittedly less than crystal clear on the
issue. Nevertheless, the Court holds that, when local counsel for a party seeks leave to withdraw,
and when the only other counsel representing that party is admitted on a pro hac vice basis, then
leave of Court will be granted only if local counsel complies with the certificate filing requirement
under Local Rule 101.2(b).

Here, the certificate accompanying Mr. Turner’s Motion to Withdraw Appearance did not
recite all of predicates required by Local Rule 101.2(b). As provided in Local Rule 101.2(b), the
certificate must state “(a) the name and last known address of the client, and (b) that the written
notice has been mailed to or otherwise served upon the client at least seven (7) days previously
advising the client of counsel’s proposed withdrawal and notifying it that it must have new counsel
enter an appearance or be subject to the dismissal of its claims and/or default judgment on claims
against it.” In particular, Mr. Turner’s certificate does not state whether he informed his client that

it may be subject to the dismissal of its claims upon his withdrawal.
Case 1:24-cv-00941-JKB Document 443 Filed 11/14/24 Page 3of3

Accordingly, it is ORDERED that:

1. Mr. Turner’s Motion to Withdraw Appearance (ECF No. 437) is DENIED WITHOUT
PREJUDICE; and

2. Mr. Turner SHALL FILE any renewed motion to withdraw appearance, in compliance

with the Local Rules, by Friday, November 22, 2024.

DATED this /4 day of November, 2024.

BY THE COURT:

James K. Bredar
United States District Judge

